EXHIBIT N
Feb_22_2020 05:46 PM   Lea Weinstein                                   Redacted                                P   3/13




                       AMERICAN ARBITRATION ASSOCIATION
                                           Case Number: 01-18-0002-1956


          In the Matter of the Arbitration between
          Spencer Meyer
          -vs-
          Uber Technologies, Inc.


                                      AWARD OF ARBITRATOR


          1, Les .1, Weinstein, THE UNDERSIGNED ARBITRATOR, having been designated in
          accordance with the arbitration agreement entered into between the above named parties, and
          having been duly sworn, and having duly heard the proofs and allegations of the Parties do
          hereby, AWARD, as follows:

          This Arbitration between Claimant Spencer Meyer and Respondent Uber Technologies Inc. came
          on for hearing on October 23rd, 24th, and 25th, 2019 in New York City. Spencer Meyer, an
          individual, (hereinafter sometimes Meyer and/or Claimant), was represented by his counsel,
          Brian M. Feldman and Lauren Mendolara of Harter Secrest & Emery LLP. Uber Technologies,
          Inc, (hereinafter sometimes Uber and/or Respondent) was represented by William Isaacson, Peter
          Skinner, Abby Dennis, Alexandra Jumper, and William Weaver ol' Boies Schiller & Flexner LLP.

          Documentary, testimonial and demonstrative evidence was presented. The parties furnished both
          pre- and post-arbitration briefings to the Tribunal and argued their eases. After reviewing the
          evidence and the applicable law, this Tribunal directs its Award in favor of Uber technologies,
          Inc. and against Spencer Meyer. Meyer shall take nothing on his claim.i




            At one point, Uber offered to settle this case, by paying Claimant his asserted treble damages
          and his attorney's fees (limited to those fees incuiTed during the arbitration). Uber also offered
          to code Meyer's personal account to exempt him from future "surge" fees. Uber did not offer
          any injunctive relief. Meyer refused this offer.
Feb_22.2020 05:46 PM    Les Weinstein                                     Redacted                              P   4/13




          This Arbitration was commenced before the American Arbitration Association on June 4, 2018
          after having been ordered to arbitration by the United States District Court which concluded that
          the matter was subject to arbitral jurisdiction. This Tribunal has determined that none of the
          prior law and motion decisions of the District Court arc here either "law of the case" or issue
          preclusive.


          The dispute between the parties, which fi rst arose in 2015, had a long dance in the federal courts
          before arriving in the American Arbitration Association's ballroom; here known as arbitration.
          Its prior history can he found in the public record:
          Meyer v Kalanick;      185 I' Supp 3d 66               (2016)
                                 200 F Supp 3d 410               (2016)
                                 291 Supp 3d 526                 (2018)
          Meyer v                868 F3d 66                      (2017)

          This case began in the federal court as a purported class action involving tens of thousands if not
          millions of riders challenging Uber's right to charge surge pricing.


          Claimant Meyer here , now as an individual, brought on this arbitration against Respondent
          Uber, alleging that he, as a rider, was overcharged by Uber's "surge pricing" for two rides he
          took in 2015 and that such charges violated Section 1 of the Sherman Act and the parallel New
          York Donnelly Act. Meyer stakes his claim by asserting that the surge pricing arrangement by
         which he was charged beyond standard normal pricing was a "per se" hub and spokes horizontal
          price fixing violation of Section 1 of the Sherman Act between driver competitors aided by Uber
         acting as the active sponsoring hub of the horizontal scheme.2


         The fundamental issue remaining in this case is whether Meyer individually proved that Uber as
         the "hub" created and facilitated a price fixing conspiracy among and with its driver "spokes"
         constituting a huh and spokes conspiracy to charge, increase and/or fix the surge pricing paid by




           Curiously, Meyer chose not to challenge the standard aspects of Uber's normal , non surge,
         pricing despite the fact that the same legal analysis would appear to apply.
Feb.22.2020 05:47 PM    Lea Weinstein                                  Redacted                                P   5/13




          him in connection on the two (2) rides taken by him in 2015 when he was charged "surge"
          pricing.


          If such a horizontal agreement between libel' and the drivers existed, it could supply the
          horizontal rim of the huh and spokes wheel arguably subject to a per se analysis. Meyer's
          claimed damages, after trcbeleing, was less than 100 dollars; he also sought his statutory
          attorney's fees and a permanent injunction against Uber's being permitted to charge riders surge
          pricing to riders in the future.




          I find no such hub and spokes conspiracy existed or that any horizontal agreement was proven.
          Uber's individual relationships with its drivers were purely vertical in nature in regard to the
          prices paid by riders and the amount earned by drivers. The pricing was controlled and set by
          Uber.


          Meyer premised much of his case on the language, reasoning and the Supreme Court dicta of
          Interstate Circuit v United Stales infra. and argued that it was controlling precedent.


          Uber defended on numerous grounds but relied principally on the defense that there was no
          "rim" or horizontal agreement between and among drivers which it facilitated or promoted as the
          "hub". It contended that its relationships with its drivers were purely vertical in nature and was
          fully justified under the Supreme Court Leegin ease, infra, which precluded a "per se" analysis.
          Uber further defended on the ground that Meyer did not suffer any "antitrust injury" in that the
          pricing paid by Meyer was based on a competitive marketplace in which both price and timely
          pick up were the components of the service provided and that he received what a fully
          competitive market would have provided him.
Feb.22.2020 05;47 PM      Lea Weinatein                                 Redacted                                P   6/13




          Although the parties have requested a reasoned award, the AAA Consumer Rules require only a
          brief explanation of the Award. This tribunal has chosen here in the interest of brevity and
          economy to offer more than a general explanation and less than what would be a fully reasoned
          Award complete with citations and references to the hearing record. The above cited federal
         cases involving Meyer provide ample additional background.


          Meyer relies heavily on Interstate Circuit, infra which is here found by this Tribunal inapplicable
          to the facts presented. Though Interstate Circuit is still good law and not overruled, its analysis
         and oft cited dicta, infra, is often ill suited to 21st Century technology frequently involving
          primarily vertical relationships such as those involved in this case. Uber certified drivers are a
         diverse lot, not generally knowing each other's names or identities. On any given day in any
         geographic territory or region subject to surge pricing, there might be N drivers or 2xN drivers or
         100xN drivers at any given time. They need not he the same group of drivers on any two days or
         during any single hour of the day. Indeed, it is unlikely that the set of drivers at any time would
         he identical to the same group at another time. Some of the Uber drivers might, at any time, be
         serving as a Lyft driver or both an Uber and Lyft driver signing on to the apps that seemed most
         beneficial to him or her. Indeed, such drivers might also be driving for independent limousine
         services. Uber deems its drivers to be independent contractors free to choose for whom they
         drive, their hours and days and how many hours they choose to work or not work. Some drivers
         might drive as a full time occupation while others as a second or third job. Drivers come and go
         and their numbers vary from day to day. The issue of their legal status vis a vis Uber does not
         seem free from doubt and at least in one state is currently seeking to legally deem them
         employees, which would arguably render them legally incapable of being horizontal
         co-conspirators. The diverse and varying varying drivers have no club house, membership list,
         union or periodic routine get together. They are spread throughout the United States and their
         local regions.


         There is no evidence that the drivers entered into any agreement among themselves or
         collectively with Uber relating to surge pricing, a matter over which they had no control and was
Feb.22.2020 05:48 PM   Lea Weinstein                                   Redacted                                F   7/13




          set by Uber. The fees Uber charged a customer for a ride often had no direct or fixed
          mathematical relation to the driver's compensation. There is no evidence that fiber met with
          drivers to get them to agree on pricing or that the drivers met with each other to do so.




          As a technical and legal matter, Meyer would be required to prove that this alleged hub and
          spokes conspiracy was in full operation on the very two (2) days in 1915 on which he took his
          rides and paid a surge price amd which was agreed to by the agreeing drivers then online with
          Uber. No such proof was offered.


          Meyer has here expressly abandoned the alternative theory claimed by him and offered to him in
          the District Court wherein he could have sought to prove a Section 1 antitrust violation under the
          "rule of reason." Under such a test, many factors would be considered such as whether the
          conduct challenged had pro competitive or anticompetitive features, increased prices
          unreasonably, decreased output, whether it had benefits and the role that It served in the
          economic marketplace. Nonetheless, this essentially economically based test was abandoned by
          Meyer in this proceeding. In brief, Meyer alleged that Uber and its driver "partners" when
          switching to surge pricing formed a "hub and spokes" horizontal antitrust conspiracy among
          drivers vertically facilitated with or promoted by Uber to increase pricing for riders and drivers
          which was a "per se" unlawful arid permitted of no legal justification.


          It was undisputed that Uber conceived of, implemented and used surge pricing in times of high
          demand by prospective riders in order to induce more drivers to take to the road in an effort to
          meet the demand of waiting passengers in a timely manner. Uber sought to distinguish itself and
          compete with both cost eftbctive competitive fares and prompt service with minimum waiting
          times for riders. Surge pricing typically increased the price from standard pricing and could be
          as small as a dollar to as much as 10 times standard pricing in times of very high rider demand
         and low driver supply. Uber saw itself as competing for both drivers and rider passengers in a
          two-sided marketplace in which timely satisfying riders was paramount to its services and to its
Feb.22.2020 05:48 PM   Lea Weinatein                                     Redacted                              P   8/13




          success. It sought to use surge pricing to increase driver supply in times of high demand and to
          minimize waiting times for riders, It knew that increased pricing at such times might be subject
          to the lower fares of competitors such as Lyft or taxis or buses etc. Uber was waking on a
          classic supply and demand system in order to compete.


          Uber defended on numerous grounds, the primary one being that no hub and spokes conspiracy
          existed with a horizontal component and that its pricing arrangements with its drivers were
          purely vertical in nature and not subject to a per se analysis since it lacked a rim horizontally
          connecting the drivers to any agreement with each other and it turn with Uber. Uber urged that
          the Leegin case, infra, provided a controlling basis for a decision in its favor in this case.


          The internet, push button, smart phone, lOT technology of the 21"' century is very different than
          that which existed in the 20th century and it is no surprise that the rules of competition often
          require more complex analysis in the context of "contract, combination or conspiracy" cases of
          prior years. It is beyond dispute that Uber and its ride delivery system has worked something of a
          21st century miracle and changed much of the commuting habits in the United States and
          elsewhere. One might debate the pros and cons and the social desirability or potential long term
          lifespan of this change but the change has occurred ,is in full bloom and affected travelers,
          transportation and competition in many ways. Today, Uber has increased competition and has
          spawned a direct competitor such as Lytt and one — Sidecar • which has left the field. Its
          competition has served to enhance the quality and the price of taxicab and limousine services
          and no doubt affected public transportation and automobile use in numerous other ways. Many
          choose to Uber rather than walking or taking a subway or bus or taxi. Indeed, Uber is now a
          noun, a verb and an adjective as well as an established servicemark. It is the essence of
          competitive disruption that the Sherman Act is meant to foster.


          Meyer's claims must fail for he has not met his burden of proof that Uber's surge pricing is as a
          matter of law or fact a per se violation of the Sherman Act and/or the parallel Now York
          Donnelly Act. He has failed to prove that the drivers either agreed among themselves or
Feb.22.2020 05:49 PM    Les Weinstein                                   Redacted                              P   9/13




          conspired with Uber on surge pricing. Uber sets surge fares at its option based on market
          conditions and the amount thereof; drivers are not consulted.


          This Tribunal, assuming as it does, that Interstate Circuit, infra, and its progeny remains good
          law find it inapplicable for the essentially undisputed facts developed during this arbitration.
          There is arguably a Hub here, Uber. There are from time to time an ever varying number of
          individual driver "spokes", electronically flashing on and off like a laser beam directed to the
          hub and from the hub. Rarely are the same spokes present at the same time or for the same
          length of time.


          What is unproven is the any "rim" exists connecting the drivers spokes to any agreement among
          themselves and the hub (Uber) such rim being the essential element of the horizontal agreement
          necessary to even make an effort of applying per se theory of a hub and spokes nature. Meyer
          has sought to prove a wheel which does not roll for the lack of a rim. Indeed there are no spokes
          in the traditional sense but merely numerous vertical and individual contractual relationships
          between Uber and its many drivers. There is no true wheel however much Meyer sought to
          portray it as such.


          Here the alleged co conspirators are not known to each other by name or address. They are of a
          varying number and identity at any given moment of time and for all practical purposes they are
          not in contact, do not know each other or their identities in any commercially or competitively
          significant way. They do not meet collectively and have discussions. There is no fixed number
          and no meeting place. Many drivers work not only for Uber but for Uber's competitors such as
          Lyn and sometimes do so simultaneously without objection from Uber. The hub is real, the
          spokes ,if viewed as such,flash on and oil in what is more like a light show and there is no rim
          in any commercially meaningful way practically connecting the driver vertical spokes to one
          another or creating an agreement among themselves and/or with Uber, Hence, the" rule of
          reason" law espoused by 1,eegin is here controlling as to vertical arrangements precluding a per
          se analysis or test of legality.
Feb.22.2020 05:49 PM    Les Weinstein                                    Redacted                               P 10/13




          Although no rule of reason case was here formally advanced oc asserted, both parties put in
          evidence on the subject that might be part of a rule of a reason case. Indeed, Uber no doubt, out
          of an abundance of caution, overperformed and put in what would be a large part of a rule of
          reason defense including offering expert economic testimony indicating that its conduct was
          reasonable, enhanced competition and was lawful. However, this tribunal need not speculate on
          the matter. I find as a matter of fact no wheel and no rim and hence no possible per se case.
          There exists merely a series of vertical restraints, found by Leegin not subject to a per se
          illegality analysis.


           This tribunal here adds some dictum, which in a way goes to the heart of the case and its failure
          to settle. While Meyer waived and during the hearing first disclaimed any desire for a
          nationwide injunction, that was the original thrust of the case both here and in the federal court.
          Such an injunction, if granted would have likely also supported a large attorney's fees. While
         there is some sparse authority for the ability of an individual private antitrust litigant to gain
          broad injunctive relief, the very limited nature and small scope of Mr. Meyer's consumer claim,
         even if it had been successful ,would likely have augured against a granting of such broad
         injunctive relief, which could have had a draconian effect on the business of Uber. Much has
         been said of late about the appropriateness of nationwide injunctions being granted by federal
         district courts and an arbitration tribunal would be especially cautious in this regard es because
         of the very limited appeal rights in arbitration. Furthermore, neither the Federal Trade
         Commission nor the Antitrust Division of the United States Department of .lustiee or any state
         attorney general have taken any known interest in this case, despite its lengthy public face in the
         federal courts. These factors would have further likely deterred an arbitrator from entering such
         a broad injunction even if Meyer prevailed. While an arbitrator fully has power to grant an
         injunction in an appropriate case it is an extraordinary remedy to be cautiously involtett.


         Uber (and Lyft) has improved the local taxi business by forcing them to compete in the quality
         and services offered and no doubt, price. This ease allows this tribunal to venture an educated
Feb.22_2020 05:50 PM    Lea Weinatexe                                   Redacted                                  P 11/13




          prediction on how the United States Supreme Court would apply Leegin and apply it to the
          benefit of Uber's position in a rule of reason case,: I) The alleged co-conspirator individual
          sellers of transportation, are presumed to participate in the disruptive technology emanating from
          the Uber. 2) Unlike Interstate Circuit and Leegin, the drivers are not a set identified group of
          competitors and vary over time; they can sell their rides of Uber competitors such as Lyft. 3)
          The surge pricing incentive is designed to increase available drivers and ride products and
          prompt delivery in times of increased passenger demands, 4) Surge pricing does not guarantee
         any fiber driver increased profitability for participating in surge pricing over any fixed period of
         time. Factors such as but not limited to Lyft's competition could actually decrease Uber driver
         and Uber earnings over any period of fiber surge pricing.


         Given Leegin's failure to explore any potential the Hub-and-Spokes aspect in that case, this
         case before me warrants some explanation. The per se theory that underlies horizontal price
         fixing cartel like cases rests on the belief that such conduct virtually always increases price to the
         consumer and limits production or product availability by reducing competition. This is not such
         a case. Modern digital technology and the Internet have changed the world virtually overnight.
         Here product availability and service are increased as is competition by Uber. Price is just one
         feature of the product Uber and its competition provide.Waiting for long periods in the rain or
         cold is a "cost" many riders wish to avoid and are willing to pay to avoid..


         Uber was an upstart change agent, fueled by modem technology and backed up by dreamers and
         financially supported by investors that has disrupted transportation competition in this country
         in a dramatic way. It is known by virtually all who commute or walk. It has added its
         competition to the taxi and limousine business, car rental business, local transportation business
         and even generated the direct competition of Lyft, It provides competition with individual car
         owners often choosing to use fiber (or Lyft) to commute or make other trips. If anything, its
         arrangements with its drivers have increased product and quality ,brought on new competitors
         and stirred competition from its slumber.
Feb.22.2020 05:50 PM    Les Weinstein                                  Redacted                                 P 12/13




          Indeed, in this case, Respondent Tiber has chosen to overachieve and defend by presenting a rule
         of reason defense, even though it had no need to do so. It established rather clearly that had
         Meyer pursued a rule of reason analysis, it would likely have lost,hence explains why the
         Claimant chose to invest in and pursue only a per se themy.The dictum of Interstate Circuit does
          not a case make.


          In I deegin Creative Leather Products, Inc. v PSKS, Inc., 127 S Ct 2705 (2007), the Supreme
         Court expressly overruled the holding of Dr. Miles Medical Co. v John D. Park & Sons Co., 220
         G.S. 373, 31 S.Ct. 376 that the per se rule of liability under Section 1 of the Sherman Act applied
         to vertical agreements to fix minimum prices. It held that the "rule of reason" economic analysis
         would be required in such cases. No mention is made in Leegin of Interstate Circuit v United
         States, 59 S. Ct 467 (1939) and it has no applicability here except that from Claimant's point of
         view it furnishes some useful but, in the end, inapplicable dictum. In Interstate, the United States
         brought an action on behalf of the movie going public against two large and established
         identifiable horizontal groups of competitors (distributors and exhibitors of motion picture films)
         which two groups which also had a vertical distribution relationship to one another in which
         prices to the public were fixed and product was restricted. This was not what is typically
         considered a hub and spokes case. Meyer focused on the language in Interstate, where the
         Supreme Court did there state in dictum what is certainly good law in horizontal cases involving
         competitors:


         "le is elementary that an unlawful conspiracy may be and often isformed without simultaneous
         action or agreement on the part of the conspirators. United States v. Schenck, D.D., 253 F. 212,
         213 affirmed 249 U.S. 47, 39 S.Ct. 247, 63 LEd. 470,- Levey v. United States 9 Cie, 92 .P.2d 688,
         691. Acceptance by competitors, without previous agreement, of an invitation to participate in a
         plan the necessary consequences of which, if carried out, is restraint of interstate commerce, is
         sufficient to establish an unlawful conspiracy under the Sherman Act."
Feb.22.2020 05:51 PM   Lea Weinstein                                   Redacted                              P 13/13




          However, in interstate the Supreme Court concluded that there was ample evidence from which
          to find as a matter of diet horizontal agreements both expressed and/or implied between and
              in and between the two sets of horizontal defendants vertically connected. That is a far cry
          from this case.


          The Award in this matter is given to Respondents Uber Technologies, Inc. Claimant Spencer
          Meyer shall take nothing from this arbitration.


          The administrative fees of the American Arbitration Association (AAA) totaling $2,400,00, and
          the compensation and expenses of the arbitrator totaling $69,196.54 shall be borne as incurred,


          This Award is in full settlement of all claims submitted to this Arbitration. All claims not
          expressly granted herein are hereby denied.



                                                                       Les J.     istein
                                                                       Arbitrator
